      Case 19-82610                Doc 10           Filed 11/15/19 Entered 11/15/19 23:34:11                          Desc Imaged
                                                    Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              Chad M. Harbin                                                    Social Security number or ITIN        xxx−xx−3009
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 11/12/19
Case number:          19−82610


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Chad M. Harbin

2.      All other names used in the
        last 8 years

3.     Address                               343 Hickory Drive
                                             Crystal Lake, IL 60014

4.     Debtor's attorney                     Michael, Sr. T Barrett                                 Contact phone (815) − 4554755 Ext.
                                             Law Office of J.D. Huls and Associates                 Email: michaelbarrettlaw@yahoo.com
       Name and address                      530 Rockland Rd
                                             Crystal Lake, IL 60014

5.     Bankruptcy trustee                    Joseph D Olsen                                         Contact phone 815 965−8635
                                             Yalden Olsen & Willette                                Email: Jolsenlaw@comcast.net
       Name and address                      838 N. Main Street
                                             Rockford, IL 61103−6906
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
     Case 19-82610                  Doc 10        Filed 11/15/19 Entered 11/15/19 23:34:11                                  Desc Imaged
                                                  Certificate of Notice Page 2 of 3
Debtor Chad M. Harbin                                                                                                      Case number 19−82610


6. Bankruptcy clerk's office                    Western Division                                             Hours open:
                                                327 South Church Street                                      8:30 a.m. until 4:30 p.m. except
    Documents in this case may be filed at this Rockford, IL 61101                                           Saturdays, Sundays and legal
    address. You may inspect all records filed                                                               holidays.
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Contact phone 1−866−222−8029

                                                                                                             Date: 11/13/19

7. Meeting of creditors                          December 27, 2019 at 11:00 AM                               Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              308 West State Street, Room 40,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Rockford, IL 61101
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 2/25/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
          Case 19-82610            Doc 10       Filed 11/15/19 Entered 11/15/19 23:34:11                         Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-82610-TML
Chad M. Harbin                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-3                  User: jclarke                      Page 1 of 1                          Date Rcvd: Nov 13, 2019
                                      Form ID: 309A                      Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 15, 2019.
db             +Chad M. Harbin,    343 Hickory Drive,   Crystal Lake, IL 60014-3412
tr              Joseph D Olsen,    Yalden Olsen & Willette,    838 N. Main Street,    Rockford, IL 61103-6906
28378165       +Athletico Physical Therapy,    C/O Nationwide Credit,    815 Commerce Dr #270,
                 Oak Brook, IL 60523-8852
28378167       +Centegra Hospital,    C/O Grant & Weber, Inc.,    5586 S. Fort Apache Suite 110,
                 Las Vegas, NV 89148-7682
28378168       +Centegra Physician Care,    P.O. Box 650292,    Dallas, TX 75265-0292
28378170       +Center for Diagnostic Imaging,    C/O Collection Resources,    2700 1st St. North Suite 303,
                 Saint Cloud, MN 56303-4583
28378171        EPMG of Illinois,    P.O. Box 95968,   Oklahoma City, OK 73143-5968
28378173       +Fortiva,   Attn: Bankruptcy,    Po Box 105555,    Atlanta, GA 30348-5555
28378174       +Merchants Credit Guide Co.,    223 West Jackson Boulevard,    Suite 700,    Chicago, IL 60606-6914
28378175       +MercyHealth,    1000 Mineral POint Avenue,   Janesville, WI 53548-2940
28378176       +Metz, Gilmore & Vaclavek,     4 East Terra Cotta Avenue,    Crystal Lake, IL 60014-3622
28378180       +Randy Hallihan DDS,    149 N. Virginia Suite 100,    Crystal Lake, IL 60014-3494
28378183       +The Bureaus Inc,    650 Dundee Road,   Northbrook, IL 60062-2747

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: michaelbarrettlaw@yahoo.com Nov 14 2019 03:17:58       Michael, Sr. T Barrett,
                 Law Office of J.D. Huls and Associates,    530 Rockland Rd,    Crystal Lake, IL 60014
28378166       +E-mail/Text: bk@blittandgaines.com Nov 14 2019 03:22:04      Blitt and Gaines P.C.,
                 661 Glenn Avenue,   Wheeling, IL 60090-6017
28378172       +EDI: AMINFOFP.COM Nov 14 2019 07:28:00      First PREMIER Bank,    Attn: Bankruptcy,
                 Po Box 5524,   Sioux Falls, SD 57117-5524
28378177       +EDI: MID8.COM Nov 14 2019 07:28:00      Midland Funding,   2365 Northside Dr Ste 300,
                 San Diego, CA 92108-2709
28378179        EDI: PRA.COM Nov 14 2019 07:28:00      Portfolio Recovery,   120 Corporate Blvd Ste 100,
                 Norfolk, VA 23502
28378178        EDI: PRA.COM Nov 14 2019 07:28:00      Portfolio Recovery,   Attn: Bankruptcy,
                 120 Corporate Blvd,   Norfold, VA 23502
28378181       +E-mail/Text: EBN_Greensburg@Receivemorermp.com Nov 14 2019 03:25:34
                 Receivables Management Partners,   Attn: Bankruptcy,    Po Box 349,    Greensburg, IN 47240-0349
28378182       +EDI: SWCR.COM Nov 14 2019 07:28:00      Southwest Credit Systems,    4120 International Parkway,
                 Carrollton, TX 75007-1958
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
28378169*         Centegra Physician Care,   P.O. Box 650292,   Dallas, TX 75265-0292
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 15, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 13, 2019 at the address(es) listed below:
              Joseph D Olsen   Jolsenlaw@comcast.net, il46@ecfcbis.com
              Michael, Sr. T Barrett   on behalf of Debtor 1 Chad M. Harbin michaelbarrettlaw@yahoo.com
              Patrick S Layng   USTPRegion11.MD.ECF@usdoj.gov
                                                                                            TOTAL: 3
